961 F.2d 209
    Guralnick (Mark S.), Garber (Joel Wayne), d/b/a Garber &amp; Guralnickv.Supreme Court of New Jersey, New Jersey Bar, District FeeArbitration Committee for Burlington and Ocean Counties,Montenegro (Nicholas C.), Secretary of District II FeeArbitration Committee, Kiefer (Yvonne), District FeeArbitration Committee of Supreme Court of New Jersey
    NO. 90-5884
    United States Court of Appeals,Third Circuit.
    Mar 16, 1992
    Appeal From:  D.N.J., 747
    F.Supp. 1109
    
      1
      AFFIRMED.
    
    